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                          UNITED STATES DISTRICT COURT

                              DISTRICT OF CONNECTICUT

DUSTIN GRANGER                                     CIVIL NO. 3:19-CV-00060 (MPS)

      V.

ANTONIO SANTIAGO, ET AL.                           SEPTEMBER 9, 2019

                     DEFENDANTS' MOTION FOR PROTECTIVE ORDER

      The defendants, through their counsel, hereby move for entry of a Supplement to

the Standing Protective Order already in place in this case.        (ECF No. 3).   Such

supplemental Protective Order is attached hereto as Exhibit A. Plaintiff's counsel has

no objection to entry of such Supplement to the Protective Order, which applies only to

certain Department of Correction ("DOC") video recordings and reports produced in this

action. In support of this motion, the defendants represent the following:

1. The plaintiff, through his court appointed pro bono counsel, has sought the

   production of DOC video recordings and DOC reports relating to the alleged incident

   giving rise to the instant action.

2. The defendants have agreed to produce two DVD video recordings related to the

   alleged incident and several unredacted DOC reports related to the alleged incident.

   The production and potential unauthorized disclosure and dissemination of these

   video recordings and reports raise safety and security concerns for the DOC.

3. Specifically, the two video recordings depict the inside of several areas of the

   Corrigan-Radgowski Correctional Center, including the intake area, certain hallway

   corridors, and housing unit, as well as certain DOC protocols and procedures.

   Additionally, several of the reports contain the full names of numerous DOC officials,

   who are not parties in the instant action.     Moreover, one of the reports contains
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   sensitive information regarding DOC's PREA investigation into the underlying

   incident involving the plaintiff.

4. In order to enable Plaintiff's counsel to obtain a copy of these video recordings and

   unredacted reports, the defendants seek entry of the Protective Order attached

   hereto as Exhibit A.

5. The defendants contend that the Protective Order, attached hereto as Exhibit A,

   adequately protects against the unauthorized dissemination or use of these

   materials, while also permitting Plaintiff's counsel access to these requested

   materials.

6. Plaintiff's counsel has no objection to the entry of the Protective Order, attached

   hereto as Exhibit A.

      WHEREFORE, the defendants respectfully request that the Protective Order,

attached hereto as Exhibit A, be entered as a supplement to the Standing Protective

Order, (ECF No. 3), and apply to the DOC video recordings and reports produced by

the defendants in this action.


                                             DEFENDANTS,
                                             SANTIAGO, TOSSES, EVANS, CONGER, &
                                             COOK

                                             WILLIAM TONG
                                             ATTORNEY GENERAL

                                       BY:          /s/
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                                    CERTIFICATION

          hereby certify that on September 9, 2019 a copy of the foregoing was filed

electronically. Notice of this filing was sent by e-mail to all parties by operation of the

Court's electronic filing system. Parties may access this filing through the Court's

System.



                                                Isl
                                          Edward D. Rowley
                                          Assistant Attorney General
